                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA,                              )
                                                       )
                         Plaintiff,                    )
                                                       )
          v.                                           )      Case No. 5:21-cv-6030
                                                       )
BRIDGETT ROBBINS,                                      )
                                                       )
                         Defendant.                    )

                                           COMPLAINT

          The United States of America, for its complaint against Bridgett Robbins, alleges the

following:

          1. This complaint is brought pursuant to 26 U.S.C. §§ 6672 and 7401 to reduce to

judgment federal income taxes and the federal trust fund recovery penalty (“TFRP”) assessed

against Bridgett Robbins.

          2. This action has been requested and authorized by a delegate of the Secretary of the

Treasury and is brought at the direction of the delegate of the Attorney General of the United

States.

          3. The Court has jurisdiction over this case under 28 U.S.C. §§ 1340 and 1345 and 26

U.S.C. § 7402.

          4. Venue is proper in the Western District of Missouri under 28 U.S.C. §§ 1391(b) and

1396.

          5. Bridgett Robbins, whose federal income tax and TFRP liabilities are the subject of this

action, resides in Osborn, Missouri.




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                                       Count I
      Reduce to Judgment Federal Income Tax Assessments Against Bridgett Robbins

        6. The United States realleges and incorporates herein by reference the allegations made

in paragraphs 1 through 5 above.

        7. Bridgett Robbins filed federal income tax returns for tax years 2008, 2009, and 2010

underreporting her federal income tax liabilities. The Internal Revenue Service examined these

tax returns and sent Robbins a notice of deficiency regarding income tax liabilities and penalties

due for tax years 2008, 2009, and 2010.

        8. Robbins filed a petition in United States Tax Court, captioned Bridgett Robbins v.

Commissioner of Internal Revenue, case number 8102-13, challenging the notice of deficiency

referred to in paragraph 7.

        9. On March 10, 2014, the United States Tax Court entered an order, pursuant to an

agreement between Robbins and the Commissioner of Internal Revenue, finding that Robbins

owed additional income tax and penalties for tax years 2008, 2009, and 2010. The Internal

Revenue Service subsequently assessed the agreed-upon taxes, penalties, and statutory additions

as identified in paragraph 11.

        10. Robbins failed to file a federal income tax return for tax year 2011. Robbins filed

federal income tax returns for tax years 2016 and 2017 self-reporting federal income tax owed to

the United States.

        11. Accordingly, on the dates, for the tax years, and in the amounts indicated below, a

delegate of the Secretary of the Treasury made assessments against Bridgett Robbins for federal

income taxes, interest, and penalties. The unpaid balance of the assessed amounts, which

includes assessed and unassessed interest and statutory additions and fees, less any payments or

credits, are as follows:

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   Tax       Date of Assessment       Amount of Tax and Statutory          Amount Owed as of
  Year                                   Additions Assessed                 January 8, 2021
 2008        May 19, 2014                     $35,705.29                      $53,639.66

 2009        May 19, 2014                       $38,892.46                      $57,750.13

 2010        May 19, 2014                      $106,720.02                     $162,849.90

 2011        October 14, 2013                  $824,898.43                    $1,106,289.70

 2016        July 24, 2017                       $8,165.67                      $11,410.45

 2017        June 4, 2018                       $32,404.16                      $44,293.45

                                       Total Owed as of January 8, 2021: $1,436,233.29



         12. The assessments identified in paragraph 11 above were made in accordance with the

law.

         13. A delegate of the Secretary of the Treasury gave notice of each assessment described

in paragraph 11 to Bridgett Robbins and made demand for payment on or about the date of each

assessment.

         14. Despite notice and demand for payment, Robbins neglected, failed and refused to

pay the outstanding income tax liabilities described in paragraph 11 and therefore remains

indebted to the United States for the unpaid balance plus statutory additions and interest accruing

from the dates of assessment.

       WHEREFORE, the United States requests entry of judgment in its favor as follows:

       (a) that the Court enter judgment in favor of the United States and against Bridgett Robbins

in the amount of $1,436,233.29, plus statutory interest and additions accruing after January 8,

2021 until paid; and




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    (b) that the Court award to the United States its costs and such other and further relief as the

Court deems just and proper.

                                    Count II
Reduce to Judgment Trust Fund Recovery Penalty Assessments Against Bridgett Robbins

       15. The United States realleges and incorporates herein by reference the allegations

made in paragraphs 1 through 5 above.

       16. At all relevant times, Bridgett Robbins was the President/CEO and a member of

Midwest Circulations LLC, a now-defunct corporation that operated a door-to-door magazine

sales business.

       17. At all relevant times, Bridgett Robbins’ duties as Midwest Circulations LLC included

making all decisions regarding corporate finances, fiscal policy, sales, and payroll tax deposits.

       18. Midwest Circulations LLC failed to remit to the United States the income and

Federal Insurance Contributions Act (“FICA”) taxes for the employees of Midwest Circulations

LLC for the periods identified below in paragraph 22.

       19. Robbins, as President/CEO and member of Midwest Circulations LLC, was

authorized to sign checks issued from the bank accounts of Midwest Circulations LLC.

       20. Robbins was required to collect, truthfully account for or pay over to the United

States the withheld income and FICA taxes for employees of Midwest Circulations LLC.

       21. Robbins acted willfully by not remitting to the United States the withheld income

and FICA taxes for employees of Midwest Circulations LLC and taking other actions while

knowing that the income and FICA taxes were not remitted to the United States, including, but

not limited to, failing to make the income and FICA taxes payments to the United States and

making payments to creditors other than the United States.




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       22. Accordingly, on the dates, for the tax periods, and in the amounts indicated below, a

delegate of the Secretary of the Treasury made assessments against Bridgett Robbins for TFRPs

pursuant to 26 U.S.C. § 6672 for her failure to collect, truthfully account for, and pay over to the

United States the withheld income and FICA taxes for employees of Midwest Circulations LLC.

The assessed amounts of the TFRPs and the current balance with accrued interest and penalties

are as follows:

   Period Ending             Date of              Assessed TFRP             Amount Owed as of
                            Assessment                                       January 8, 2021
 December 31, 2011       October 26, 2015            $12,094.25                  $15,161.99

 December 31, 2012         April 18, 2016            $16,734.66                  $20,980.45

 December 31, 2013       October 26, 2015            $29,311.03                  $36,745.85

 December 31, 2014       October 26, 2015            $35,941.96                  $45,058.74

 December 31, 2015         June 27, 2016             $19,577.04                  $23,996.76

                                       Total Owed as of January 8, 2021: $141,943.79



       23. The assessments identified in paragraph 22 above were made in accordance with the

law.

       24. A delegate of the Secretary of the Treasury gave notice of each assessment described

in paragraph 22 to Bridgett Robbins and made demand for payment of the taxes on or about the

date of each assessment.

       25. Despite notice and demand for payment, Robbins neglected, failed and refused to

pay the TFRP liabilities described in paragraph 22 and therefore remains indebted to the United

States for the unpaid balance plus statutory additions and interest accruing from the dates of

assessment.


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    WHEREFORE, the United States of America requests judgment in its favor as follows:

     (a) that the Court enter judgment in favor of the United States and against Bridgett Robbins

in the amount of $141,943.79, plus statutory interest and additions accruing after January 8,

2021, as provided by law; and

     (b) that the Court award to the United States its costs and such other relief as the Court

deems just and proper.


       DATED: March 4, 2021
                                             TERESA A. MOORE
                                             Acting United States Attorney

                                             DAVID A. HUBBERT
                                             Acting Assistant Attorney General

                                              s/ Daniel A. Applegate
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